          Case 5:21-cv-01022-G Document 64 Filed 01/12/22 Page 1 of 3




                FOR THE WESTERN DISTRICT OF OKLAHOMA

BLACK EMERGENCY RESPONSE TEAM,
et al.,

                            Plaintiffs,

                       v.                              Civil Action No.: 21-CV-1022-G

JOHN O’CONNOR, in his official capacity as
Oklahoma Attorney General, et al.,

                            Defendants.



        PLAINTIFFS’ UNOPPOSED MOTION TO FILE EXCESS PAGES


       On November 16, 2021, Defendants Board of Regents for the University of

Oklahoma, Michael Cawley, Frank Keating, Phil Albert, Natalie Shirley, Eric Stevenson,

Anita Holloway, and Rick Nagels (the "University of Oklahoma Board of Regents

Defendants"); Defendants Angela Grunewald, Jamie Underwood, Cynthia Benson,

Kathleen Duncan, and Lee Ann Kuhlman (the "Edmond Defendants"); and Defendants 1-

18 filed responses to Plaintiffs’ motion for preliminary injunction and briefs in support

(Doc. Nos. 58, 60, 61). Plaintiffs may submit replies 10 pages in length each, with a total

of 30 pages for replies. LCvR7.1(i).

       Plaintiffs respectfully request leave of this Court to file a combined reply brief of

25 pages. Plaintiffs request an excess of 15 pages to the reply page limit; however,

Plaintiffs’ single combined brief would comprise of 5 fewer pages than filing separate

briefs of 10 pages each, decreasing the number of Plaintiffs’ pages for replies overall.


                                              1
          Case 5:21-cv-01022-G Document 64 Filed 01/12/22 Page 2 of 3




Additionally, Plaintiffs’ combined reply would present the Court with a combined and

streamlined reply to Defendants’ briefs, providing a better aid to the Court in resolving

the key issues raised by both parties regarding the preliminary injunction and increasing

the efficiency of briefing.

       Defendants have been consulted and do not object to this request.



                                                 Respectfully submitted,
                                                 /s/ Megan Lambert
                                                 Megan Lambert
Genevieve Bonadies Torres
                                                 AMERICAN CIVIL LIBERTIES UNION
David Hinojosa
                                                 FOUNDATION OF OKLAHOMA
LAWYERS’ COMMITTEE FOR CIVIL
                                                 P.O. Box 13327
RIGHTS UNDER LAW
                                                 Oklahoma City, OK 73113
1500 K Street NW, Suite 900
                                                 Tel.: 405-524-8511
Washington, DC 20005
                                                 mlambert@acluok.org
Gary Stein
                                                 Emerson Sykes
Michael Cutini
                                                 Leah Watson
Sara Solfanelli
                                                 Sarah Hinger
Elahe Hosseini
                                                 AMERICAN CIVIL LIBERTIES
Amir Shakoorian Tabrizi
                                                 UNION FOUNDATION
Ramya Sundaram
                                                 125 Broad Street, 18th Floor
SCHULTE ROTH & ZABEL LLP
                                                 New York, NY 10004
919 Third Avenue
New York, NY 10022



                                                 Counsel for Plaintiff




                                             2
Case 5:21-cv-01022-G Document 64 Filed 01/12/22 Page 3 of 3




                            3
